Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 1 of 37 Page ID #:9544




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  7 and Dae Yong Lee
  8                         UNITED STATES DISTRICT COURT
  9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 UNITED STATES OF AMERICA,,                      CASE NO. 20-CR-0326-JFW
 12                Plaintiff,                       DEFENDANTS DAE YONG LEE
                                                    AND 940 HILL, LLC’S MOTION IN
 13         vs.                                     LIMINE NO. 1 TO EXCLUDE
                                                    EVIDENCE RELATED TO 2014
 14 JOSE LUIS HUIZAR, et al.,                       INVESTIGATION AND SEIZURE
 15                Defendant.                       Date: May 16, 2022
                                                    Time: 8:00 a.m.
 16                                                 Crtrm: 7A
 17                                                 Assigned to Hon. John F. Walter
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                                                                          Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 2 of 37 Page ID #:9545




  1                                           TABLE OF CONTENTS
                                                                                                                           Page
  2
      I.      PRELIMINARY NOTE .................................................................................... 1
  3
      II.     ARGUMENT .................................................................................................... 1
  4
              A.       Legal Framework .................................................................................... 4
  5
              B.       Evidence of the Seizure Should Not Be Admitted ................................. 5
  6
                       1.       The Proposed Evidence Is Not Admissible Under 404(b) ........... 5
  7
                       2.       Evidence of the Search/Seizure Should be Excluded Under
  8                             Rule 403 ........................................................................................ 7
  9           C.       Justin Kim’s Testimony About the 2014 Seizure Should Also
                       Not Be Admitted ..................................................................................... 9
 10
      III.    CONCLUSION ............................................................................................... 12
 11
      GOVERNMENT’S OPPOSITION ........................................................................... 14
 12
      I.      INTRODUCTION ........................................................................................... 14
 13
      II.     RELEVANT FACTUAL BACKGROUND ................................................... 14
 14
      III.    ARGUMENT .................................................................................................. 17
 15
              A.       Applicable Law ..................................................................................... 17
 16
              B.       Defendants’ Possession of $4.2 Million in Cash Two Years
 17                    Before the Charged $500,000 Cash Bribe Agreement Is
                       Admissible Under 404(b) ...................................................................... 18
 18
              C.       The Evidence Is Not Unduly Prejudicial .............................................. 23
 19
      IV.     CONCLUSION ............................................................................................... 26
 20
      DEFENDANTS’ REPLY .......................................................................................... 27
 21
      I.      INTRODUCTION ........................................................................................... 27
 22
      II.     ARGUMENT .................................................................................................. 27
 23
              A.       Mr. Lee’s Purported Statement to Justin Kim ...................................... 28
 24
              B.       Presence of Cash ................................................................................... 28
 25
              C.       Photographs ........................................................................................... 29
 26
              D.       Mr. Lee’s Statements ............................................................................ 30
 27
      III.    CONCLUSION ............................................................................................... 30
 28

                                                  i                       Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 3 of 37 Page ID #:9546




  1                                       TABLE OF AUTHORITIES
  2                                                                                                          Page(s)
  3
      Federal Cases
  4
      Dubria v. Smith,
  5     224 F.3d 995 (9th Cir. 2000) .............................................................................. 24
  6
    United States v. Bibo-Rodriguez,
  7   922 F.2d 1398 (9th Cir. 1991) ............................................................................ 18
  8 United States v. Ganoe,
  9   538 F.3d 1117 (9th Cir. 2008) ............................................................................ 23
 10 United States v. Garcia-Schober,
      64 F.3d 667 (9th Cir. 1995) .................................................................... 19, 24, 28
 11
 12 United States v. Hadley,
      918 F.2d 848 (9th Cir. 1990) .............................................................................. 22
 13
 14 United States v. Hankey,
      203 F.3d 1160 (9th Cir. 2000) ...................................................................... 23, 26
 15
    United States v. Hodges,
 16   770 F.2d 1475 (9th Cir. 1985) .............................................................................. 8
 17
    United States v. Iverson,
 18   162 F.3d 1015 (9th Cir. 1998) ............................................................................ 18
 19 United States v. Jones,
 20   982 F.2d 380 (9th Cir. 1992) ........................................................................ 20, 21
 21 United States v. Kenny,
 22   462 F.2d 1205 (3d Cir. 1972) ............................................................................. 21

 23 United States v. Livoti,
      196 F.3d 322 (2d Cir. 1999) ............................................................................... 25
 24
 25 United States v. Mehrmanesh,
      689 F.2d 822 (9th Cir. 1982) .............................................................................. 18
 26
    United States v. Miller,
 27   874 F.2d 1255 (9th Cir. 1989) ........................................................................ 4, 18
 28

                                                  ii                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 4 of 37 Page ID #:9547




  1 United States v. Ono,
      918 F.2d 1462 (9th Cir. 1990) ............................................................................ 22
  2
  3 United States v. Parker,
      549 F.2d 1217 (9th Cir. 1977) ............................................................................ 26
  4
    United States v. Patterson,
  5
      819 F.2d 1495 (9th Cir. 1987) ............................................................................ 23
  6
    United States v. Romero,
  7   282 F.3d 683 (9th Cir. 2002) ................................................................................ 5
  8
    United States v. Spillone,
  9   879 F.2d 514 (9th Cir. 1989) .............................................................................. 22
 10 United States v. Tramunti,
 11   513 F.2d 1087 (2d Cir. 1975) ....................................................................... 21, 25
 12 United States v. Vo,
 13   413 F.3d 1010 (9th Cir. 2005) ............................................................................ 22

 14 Other Authorities
 15 Circuit Rule 36-3 ..................................................................................................... 28
 16 Fed. R. Evid. 401 ............................................................................................... 12, 20
 17
    Fed. R. Evid. 403 .............................................................................................. passim
 18
    Fed. R. Evid. 404(b) ......................................................................................... passim
 19
 20 Fed. R. Evid. 609 ....................................................................................................... 8
 21 Fed. R. Evid. Rule 403............................................................................................. 18
 22
 23
 24
 25
 26
 27
 28

                                                   iii                      Case No. 20-CR-0326-JFW
        LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 5 of 37 Page ID #:9548




  1                                  TABLE OF EXHIBITS
  2    Ex.                            Description                                    Page(s)
  3   1.      Government’s Rule 404(b) Notice dated February 1,               2, 9
  4           2022.
      2.      Excerpt of the government’s draft proposed translation          2
  5
              of its recording of a March 27, 2019 conversation
  6           between Mr. Lee and Justin Kim
  7   3.      Document produced by the government with the                    4, 7, 29
              beginning Bates number Casino_037225
  8
      4.      Email dated February 25, 2022 from Veronica Dragalin            9
  9           to Neuman.
 10   5.      Document produced by the government with the                    11
              beginning Bates number Casino_0370683
 11
      6.      Subpoena served on 940 Hill LLC on March 5, 2019.               12
 12
      7.      September 10, 2014 Photographs of 940 HILL Office at            15
 13           1020 S. Crocker Street, Los Angeles, California.
 14   8.      Report of the execution of the September 10, 2014               15
              search warrants at 1020 S. Crocker Street, Los Angeles,
 15
              California.
 16   9.      Report of the seizure of cash on September 10, 2014.            15
 17   10.     Report of the interview of defendant DAE YONG LEE               15, 20
 18           on September 10, 2014
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                 iv                       Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 6 of 37 Page ID #:9549




  1      DEFENDANTS’ MOTION IN LIMINE NO. 1 TO EXCLUDE EVIDENCE
  2               RELATED TO 2014 INVESTIGATION AND SEIZURE
  3 I.      PRELIMINARY NOTE
  4         As reflected below, after Mr. Lee and 940 Hill submitted their portion of this
  5 joint motion in limine, the government indicated it is no longer seeking to introduce
  6 certain evidence related to the warrant and seizure discussed herein. The
  7 government’s revised position is that it intends to seek admission of the following:
  8         (1)    The fact that in September 2014, defendant LEE possessed
  9                approximately $4.2 million in cash in safes;

 10         (2)    Trial Exhibit 152, a compilation of 17 photographs from September
                   2014, showing the outside and inside of the office, three safes with
 11                large sums of cash, and various money counters;
 12         (3)    Mr. LEE’s purported admissions to law enforcement that 15-20% of his
 13                customers paid in cash, the amount of cash he kept on hand at the office
 14                fluctuated between one to three million dollars, and he was the only
                   person with access to the safes in the Office;
 15
            (4)    Mr. Lee’s purported statement to Justin Kim that Mr. Lee was audited
 16                as a result of that 2014 law enforcement presence, and that Mr. Lee
 17                “got away” with some unidentified crime because of law enforcement’s
 18                mistakes.

 19         Mr. Lee and 940 Hill LLC oppose admission of that evidence for the reasons

 20 indicated below.
 21 II.   ARGUMENT

 22         On September 10, 2014, as part of an investigation unrelated to the instant

 23 matter, the government executed dozens of search warrants in the Fashion District in
 24 downtown Los Angeles, targeting businesses allegedly involved with “black market
 25 peso exchange” money laundering activities for Mexican drug cartels. As part of
 26 that investigation, the government executed a search warrant at Defendant Dae
 27 Yong Lee’s wholesale fashion accessory business (JOIA Accessories) in downtown
 28 Los Angeles and seized over $4 million in cash mainly from a safe located at the

                                                 1                        Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 7 of 37 Page ID #:9550




  1 business. The government never accused Mr. Lee or anyone associated with him of
  2 any wrongdoing in relation to that investigation or the cash, and in 2021—after the
  3 instant case was filed and in apparent recognition of the fact that the money was
  4 lawfully obtained—the government returned all of the cash it seized from JOIA.
  5         The government has now provided notice that, purportedly pursuant to
  6 Federal Rule of Evidence 404(b), it intends to offer two categories of evidence
  7 related to the 2014 investigation at the trial of this matter: 1) testimony and
  8 photographs from an FBI agent who participated in the search and seizure, and 2)
  9 testimony by cooperating defendant Justin Kim about statements supposedly made
 10 to him by Mr. Lee about Mr. Lee’s “prior interactions with law enforcement.”1
 11 Declaration of Ariel A. Neuman (“Neuman Decl.”) Ex. 1 (Feb. 1, 2022 Dragalin
 12 Letter). The government wants to offer this evidence supposedly to show that Mr.
 13 Lee had access to large amounts of cash, that it was his “custom” to engage in large
 14 transactions, and that he knew law enforcement could audit his company’s books.
 15 Id.
 16         The parties have conferred repeatedly on this matter and agree that the Court
 17 should resolve two issues regarding this evidence: 1) whether the jury should hear
 18 evidence that law enforcement seized $4.2 million in cash from JOIA in 2014, and
 19 2) what, if anything, Justin Kim should be permitted to say about Mr. Lee’s
 20 purported statements to him about the seizure. If the Court resolves this Motion in
 21
      1
 22       The government indicates that it also intends to offer the recordings of Mr. Lee
      and Justin Kim speaking on March 20 and March 27, 2019. In one of those
 23   recordings, in response to Kim’s question as to whether Lee is scared, Lee responds
 24   that he was scared in “September 2014” but does not elaborate. He makes no other
      reference to the 2014 seizure. See Neuman Decl. Ex. 2 (Draft Transcript of
 25   Translation of March 27, 2019 recording) at 13-15. Mr. Lee does not in this Motion
 26   object to the introduction of those recordings—he expects to raise other objections
      at a later time—but does object to any additional commentary Justin Kim would
 27   offer about the statements on the recordings regarding the reference to “September
 28   2014.”

                                                 2                        Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 8 of 37 Page ID #:9551




  1 Mr. Lee’s favor, the evidence would be excluded. If the Court resolves this Motion
  2 in the government’s favor, based on a prior agreement through which Mr. Lee
  3 forwent filing a motion to suppress the 2014 search warrant, the parties would enter
  4 into a stipulation in lieu of the FBI agent’s testimony and photographs stating 1) in
  5 September 2014, law enforcement seized approximately $4.2 million in cash from
  6 JOIA pursuant to lawful process; 2) Mr. Lee was never charged with any
  7 wrongdoing in relation to that cash; 3) the money was returned to JOIA in 2021.
  8 Justin Kim would testify as permitted by the Court.
  9         Mr. Lee and 940 Hill respectfully submit that none of this evidence is
 10 admissible in any form under Rule 404(b), and in any event, the unduly prejudicial
 11 nature of the offered evidence—as well as the jury confusion it would cause and
 12 undue time it would consume—far outweighs any probative value it may have. The
 13 evidentiary value of the seizure is minimal to nonexistent: the fact that, on a single
 14 instance in 2014, federal investigators found and seized $4.2 million in cash does
 15 not make it more likely that Mr. Lee knowingly and intentionally paid a cash bribe
 16 to Jose Huizar or any other public official in 2017.
 17         More importantly, this evidence is highly prejudicial and misleading.
 18 Testimony and evidence about a prior federal investigation of the defendant,
 19 including a law enforcement seizure, will only implant in the jury’s mind the
 20 inaccurate suggestion that Mr. Lee is a repeat criminal who has faced more than one
 21 federal law enforcement investigation. That prejudice cannot be adequately
 22 addressed by eliciting the fact that no charges were filed and the money was
 23 returned, as that would only suggest to some jurors that Mr. Lee “got away with it”
 24 before, and perhaps sway them to convict in this case on the theory that they should
 25 not let it happen again. Further, jury time will be wasted as counsel needs to
 26 contextualize and defend what occurred in 2014. Accordingly, the evidence should
 27 be excluded.
 28         This is especially true because the government has better, alternative sources

                                                 3                        Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 9 of 37 Page ID #:9552




  1 for the points it wants to make and which it argues the 2014 evidence establishes.
  2 First, to establish that Mr. Lee had access to large amounts of cash from his
  3 business, the government has the testimony of his employee, Jason Kang, who is on
  4 the government’s witness list and who told the government that Mr. Lee keeps a
  5 safe in his office at JOIA and that Mr. Kang has “observed stacks of cash on Lee’s
  6 desk” at the JOIA office. Neuman Decl. Ex. 3 (Casino_0372250) at 2. Mr. Kang
  7 also told the government that Mr. Lee told him that Mr. Lee “paid $500,000 in cash
  8 as a consulting fee for entitlements . . . out of his personal cash.”2 Id. at 9. Second,
  9 to show that Mr. Lee knew his company books could be audited, the government has
 10 a recording of him talking about being “hit by the IRS” several times, and a
 11 subpoena he received asking for records of company financial records. Thus the
 12 2014 seizure evidence is cumulative and offers insufficient probative value to
 13 outweigh its unduly prejudicial nature.
 14         Moreover, at this time, Mr. Lee does not anticipate disputing that he had
 15 access to sufficient cash to make a $500,000 cash payment, or that he knew the
 16 government could audit his company’s books.3 Accordingly, the government’s
 17 evidence regarding the 2014 seizure is irrelevant, unnecessary, cumulative, and
 18 unduly prejudicial.
 19         A.     Legal Framework
 20         “Rule 404(b) evidence of other crimes or wrongs is inadmissible where its
 21 only relevance is to show criminal disposition.” United States v. Miller, 874 F.2d
 22 1255, 1268 (9th Cir. 1989) (citation and punctuation omitted). The Ninth Circuit has
 23 articulated a four-part test to determine the admissibility of evidence pursuant to
 24
 25   2
        The bribe allegedly paid by Mr. Lee was purportedly a $500,000 cash bribe
 26 related to obtaining an entitlement for the project at 940 S. Hill.
 27   3
       Mr. Lee reserve the right to change tactics as the trial proceeds, but understands
 28 that doing so may open the door to evidence that the Court otherwise excludes.

                                                 4                        Case No. 20-CR-0326-JFW
      LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 10 of 37 Page ID #:9553




   1 Rule 404(b). Such evidence “may be admitted if: (1) the evidence tends to prove a
   2 material point; (2) the other act is not too remote in time; (3) the evidence is
   3 sufficient to support a finding that defendant committed the other act; and (4) (in
   4 certain cases) the act is similar to the offense charged.” United States v. Romero,
   5 282 F.3d 683, 688 (9th Cir. 2002) (citations and punctuation omitted). “If the
   6 evidence meets this test under Rule 404(b), the court must then decide whether the
   7 probative value is substantially outweighed by the prejudicial impact under Rule
   8 403.” Id. (citations and punctuation omitted).
   9         B.     Evidence of the Seizure Should Not Be Admitted
  10                1.     The Proposed Evidence Is Not Admissible Under 404(b)
  11         The government contends that evidence of the seizure is admissible “to prove
  12 opportunity in that it establishes that Lee had ready access to large sums of cash at
  13 his business location, and that it was his custom to deal in large quantities of cash.”
  14 Ex. 1 at 2. In fact, nothing about the 2014 seizure “establishes” that Mr. Lee had
  15 “ready access” to “large sums of cash” once the government effected its seizure. It is
  16 undisputed that in 2017, at the time of the alleged bribe payments, Mr. Lee did not
  17 have the cash in question because it was in the government’s hands. As to whether
  18 Mr. Lee might have accumulated a new large amount of cash in the interim, the
  19 seizure itself says nothing: that Mr. Lee had cash on one day in 2014 does not
  20 inform whether he had a large amount of cash in 2017. The seizure evidence does
  21 not show whether it took Mr. Lee 10 days, 10 months, or 10 years to accumulate the
  22 cash that was seized.
  23         Nor does the 2014 seizure support the notion that it was Mr. Lee’s “custom to
  24 deal in large quantities of cash.” The seizure says nothing about whether Mr. Lee
  25 regularly engaged in large cash transactions. The government’s evidence does not
  26 establish that Mr. Lee intended to use that cash for transactions (as opposed to
  27 depositing it in the bank, for instance), and indeed, Mr. Lee’s possession of the cash
  28 only shows that he received cash from an unspecified number of transactions, not

                                                  5                        Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 11 of 37 Page ID #:9554




   1 that he had a “custom” of paying others in cash. Especially since the government
   2 recognized that this cash was not obtained from criminal activity—it was returned—
   3 the seizure evidence at most shows that Mr. Lee’s business received cash from
   4 customers who purchased fashion accessories at some point prior to September
   5 2014, and nothing else. The seizure provides no evidence that Mr. Lee himself
   6 engaged in large cash transactions.
   7         The government also contends, without explanation, that the seizure somehow
   8 “establishes Lee’s knowledge of and familiarity with law enforcement procedures of
   9 auditing business and accounting records,” such that it is “admissible to prove
  10 knowledge, plan, absence of mistake and lack of accident with respect to Lee’s
  11 [alleged] decision to alter 940 Hill accounting records to obstruct law enforcement.”
  12 Ex. 1 at 2. There is no basis for the contention that experiencing a single seizure of
  13 cash would inform Mr. Lee about law enforcement procedures for auditing business
  14 and accounting records. The proposed evidence has nothing to do with auditing
  15 practices. Nor can it be plausibly asserted that having cash seized from one’s
  16 business somehow gives insight into what sort of investigative techniques law
  17 enforcement might use, other than search and seizure warrants. Nothing about the
  18 interaction in 2014 would have given Mr. Lee the insights the government suggests.
  19 Moreover, the notion that the seizure somehow informed Mr. Lee’s alleged
  20 alteration of accounting records five years later is absurd; the government is not
  21 offering evidence that Mr. Lee previously altered his books to avoid government
  22 scrutiny in 2014.
  23         Rather, this evidence will implant in the jury’s mind exactly the
  24 misconception on which the government based its inappropriate 2014 seizure: that
  25 having a large amount of cash is indicative of a criminal disposition. The jury will
  26 be led to inappropriately conclude, like the government did in 2014, that the
  27 possession and use of cash as inherently suspicious. That view will be bolstered with
  28 evidence that law enforcement seized the cash precisely because having it is

                                                  6                        Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 12 of 37 Page ID #:9555




   1 believed to be nefarious. Furthermore, a prior law enforcement seizure would
   2 cement in the jury’s mind that Mr. Lee himself has a criminal disposition. Not many
   3 people have two such interactions with federal law enforcement—first a cash
   4 seizure and now an indictment. The inescapable conclusion that the jury will reach
   5 is that Mr. Lee must be involved in criminal conduct and have a criminal
   6 disposition. The jury would left to wonder who but a criminal would twice attract
   7 the attention of federal law enforcement. That is exactly the type of inference that
   8 makes evidence inadmissible under Rule 404(b).
   9         Accordingly, evidence of the 2014 seizure is not admissible under Rule
  10 404(b).
  11                2.     Evidence of the Search/Seizure Should be Excluded Under
  12                       Rule 403
  13         Even if the Court finds the evidence admissible under Rule 404(b), the Rule
  14 403 balancing test weighs in favor of exclusion. First, there is alternative and better
  15 evidence to establish that Mr. Lee had access to large amounts of cash from his
  16 fashion accessory business: as noted, a key employee is prepared to so testify.
  17 Neuman Decl. Ex. 3 (Casino_0372250). That testimony is also not limited to a
  18 period of time in the way that the 2014 seizure is limited. Second, Mr. Lee does not
  19 anticipate disputing that he had access to large amounts of cash at the relevant time
  20 period. Accordingly, evidence of the 2014 seizure is not necessary to support the
  21 main point that the government seeks to establish.4
  22         The evidence is not only unnecessary, but as discussed above, its probative
  23 value is non-existent. On the other hand, the undue prejudice would be immense. As
  24 discussed, it would establish in the jury’s mind that Mr. Lee has a criminal
  25 disposition, has “gotten away with it” before, and has had multiple run-ins with the
  26
  27   4
        The alternative evidence the government has that Mr. Lee knew his business’s
  28 books could be audited is discussed infra.

                                                  7                        Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 13 of 37 Page ID #:9556




   1 law. Admission of evidence of prior criminal convictions is severely circumscribed
   2 under the rules of evidence for this very reason. See Fed. R. Evid. 609. Here, the
   3 government seeks to admit evidence of a prior investigation and seizure, that did not
   4 even result in a criminal complaint, and arguably resulted in an exoneration when
   5 the government returned the seized money.
   6         Such prejudicial evidence is particularly dangerous in a case where the
   7 evidence is relatively weak. See, e.g., United States v. Hodges, 770 F.2d 1475, 1480
   8 (9th Cir. 1985) (error to admit evidence that has “dubious probative value” and
   9 would “make[] conviction more likely because it provokes an emotional response in
  10 the jury or otherwise tend[] to affect adversely the jury's attitude toward the
  11 defendant wholly apart from its judgment as to his guilt or innocence of the crime
  12 charged”) (internal quotations and citation omitted). Here, the only direct evidence
  13 the government has that Mr. Lee knowingly and intentionally paid a bribe is the
  14 testimony of a cooperating defendant, Justin Kim, who the government has admitted
  15 comes with significant “baggage” based on his history of lying and criminal activity.
  16 There are no contemporaneous documents to corroborate Kim’s account.5 Evidence
  17 that Mr. Lee was the subject of a prior law enforcement investigation and seizure
  18 could very well tip the scales in favor of conviction on that fact alone.
  19         Admission of the 2014 seizure will also cause undue confusion and waste the
  20 jury’s time. The jury will be confused and may well believe that Mr. Lee was under
  21 investigation for crimes related to this case back in 2014, and that he had a larger
  22 and longer role than even the government alleges. Trying to alleviate that confusion
  23 would only result in the jury either a) learning that Mr. Lee was in fact targeted as
  24 part of a different investigation into alleged cartel-related money laundering
  25
  26   5
        The government believes it has circumstantial evidence to corroborate Kim’s
  27 story; Mr. Lee expects such evidence will be far less compelling than the
  28 government hopes once subjected to the adversarial process.

                                                  8                        Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 14 of 37 Page ID #:9557




   1 activities, or, if given no explanation of the prior investigation, b) left wondering
   2 what heinous crime Mr. Lee engaged in that involved millions of dollars in cash but
   3 for which he escaped the claws of justice. Either would be extremely prejudicial. In
   4 addition, all of this would result in an undue consumption of time. Mr. Lee’s
   5 counsel will have to introduce testimony to contextualize the 2014 seizure, establish
   6 its irrelevance to this case, establish the importance (and rarity) of the fact that law
   7 enforcement actually returned the money, and unwind the prejudicial inferences that
   8 would inevitably follow the admission of such evidence.
   9         All of this can be avoided by excluding evidence of the 2014 seizure and
  10 simply having Mr. Kang (or any other witness) testify that Mr. Lee had access to
  11 significant amounts of cash, a point which counsel does not expect to be in dispute.
  12 This is exactly the scenario where Rule 403 weighs in favor of exclusion.
  13         C.     Justin Kim’s Testimony About the 2014 Seizure Should Also Not
  14                Be Admitted
  15         The government also intends to have its cooperating defendant Justin Kim
  16 testify about Mr. Lee’s purported statements to him about the search and “Lee’s
  17 prior interactions with law enforcement.” Neuman Decl. Ex. 1 at 2. The government
  18 has since confirmed that it intends to rely on the following excerpt from a 302 of a
  19 January 2020 interview of Kim:
  20
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       Neuman Decl. Ex. 4 (Feb. 25, 2022 Dragalin Email).
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                                                  9                        Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 15 of 37 Page ID #:9558




   1         The government contends that the evidence is relevant to prove “corrupt
   2 intent, since it shows Lee confided in Kim by disclosing his prior encounters with
   3 law enforcement to encourage Kim to continue concealing their corrupt agreement
   4 from law enforcement, thereby evidencing that Lee and Kim had previously entered
   5 into a corrupt agreement,” and “demonstrates knowledge of how law enforcement
   6 investigations work, including that law enforcement can audit accounting records,
   7 [and is] therefore relevant to prove intent, knowledge, plan, absence of mistake, and
   8 lack of accident regarding Lee’s [alleged] decision to alter 940 Hill accounting
   9 records.” Ex. 1 at 2.
  10         Mr. Lee’s purported statements to Kim about the 2014 seizure should be
  11 excluded for the reasons set forth above in the first instance. However, Kim’s
  12 proposed testimony is even more prejudicial than the other proposed evidence: it
  13 would tie the seizure to the black market peso investigation, falsely inform the jury
  14 that Mr. Lee was the person with the most cash on hand,6 and falsely inform the jury
  15 that Mr. Lee was engaged in “fraud and tax evasion” but got away with it.
  16 Defending these claims would result in even further consumption of time and jury
  17 confusion: counsel would be engaged in the defense of accusations which even the
  18 government has not raised, which are not relevant to this case, and which go back
  19 almost a decade (well outside the applicable statute of limitations). In addition, Kim
  20 likely has no knowledge that the money was returned by the government, and so the
  21 defense would need to establish and explain that fact.
  22         While the government suggests this is evidence relevant to Mr. Lee’s
  23 purported efforts to convince Kim to conceal their agreement, there is in fact no
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        In fact, other businesses were found to have tens of millions of dollars in cash on
  26 hand that day. See, e.g. https://ktla.com/news/local-news/feds-raid-l-a-s-fashion-
     district-in-drug-money-laundering-probe-2/ (citing then-Chief of the Criminal
  27 Division AUSA Robert Dugdale’s press conference statement that “at least $35
  28 million in cash” was found “stashed” at one location).

                                                  10                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 16 of 37 Page ID #:9559




   1 evidence that Mr. Lee encouraged Kim to conceal anything. Kim’s statement was
   2 made during a January 2020 interview and nowhere does he says Mr. Lee mentioned
   3 the 2014 seizure as part of an effort to get Kim to conceal anything, or that Mr. Lee
   4 even engaged in such an effort. Neuman Decl. Ex. 5 (Casino_0370683). Indeed,
   5 Kim says nothing at all about when he purportedly learned this information,
   6 including whether it was before the alleged scheme at issue here ever began.
   7         In fact, in the conversations recorded between Mr. Lee and Kim in March
   8 2019, Mr. Lee repeatedly told Kim to “go in” and talk to law enforcement, even
   9 though Kim said Kim lied to his own lawyer and would have to tell the truth if he
  10 talked to law enforcement. There is no evidence that Mr. Lee told Kim to conceal
  11 their alleged agreement from law enforcement.7 The only time Mr. Lee mentioned
  12 the 2014 seizure to Kim during their recorded conversations was in response to
  13 Kim’s question of whether Lee is “scared,” saying he was scared in 2014 (without
  14 further explanation) and would wait to see how the instant investigation developed
  15 before taking action. Ex. 2 at 13.8
  16         Thus, the first purported basis for admission has no foundation; there is
  17 simply nothing to corroborate the government’s contention that Mr. Lee told Kim
  18 about the 2014 seizure to convince him to conceal their relationship.
  19         As to the second basis for admission—that it shows Mr. Lee’s knowledge that
  20 law enforcement can audit accounting records—such evidence is again not in
  21 dispute and can be better established through other, less prejudicial means. First, in
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        Kim has claimed at times that during these conversations, Mr. Lee told him to lie
  24 about the amount of money involved in the alleged bribe. The recordings refute this
     claim, and in any event, this is different than saying the payment did not occur.
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  26    That Mr. Lee was trying to comfort Kim during the course of this conversation is
     obvious from the entire context of the conversation, and explanation of the brief
  27 reference to September 2014 is not necessary if the government wants to establish
  28 that Mr. Lee was in fact trying to comfort Kim.

                                                  11                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 17 of 37 Page ID #:9560




   1 the government’s recorded conversations, Mr. Lee told Kim, “While doing business
   2 for about 30 years, I was hit by the IRS about five- four times.” Ex. 2 at 14. This is
   3 stronger evidence that Mr. Lee knew his business records could be audited by the
   4 government (as do most jurors). Second, the government can also establish such
   5 knowledge by introducing the subpoenas in this case. The government is planning to
   6 offer evidence about the subpoenas issued to Mr. Lee and his companies as part of
   7 this investigation, because the government contends that the March 5, 2019
   8 subpoena was what led Mr. Lee to allegedly alter 940 Hill’s accounting records to
   9 obstruct the investigation. That subpoena demanded “all records” regarding various
  10 expenditures by 940 Hill. Neuman Decl. Ex. 6. Thus, if there was any question in
  11 Mr. Lee’s mind that 940 Hill’s accounting records could be audited, it was answered
  12 with that subpoena, according to the government, which supposedly caused him to
  13 go off and alter those records. The jury does not need Kim’s unduly prejudicial
  14 testimony to understand that Mr. Lee knew an audit was a possibility. In any event,
  15 Mr. Lee does not expect to dispute the commonly-known fact that law enforcement
  16 can audit a business’s internal accounting records.
  17         Based on the foregoing, the undue prejudice of Justin Kim’s statements, the
  18 undue consumption of time that will be required to prove that his allegations are
  19 false, and the jury confusion that will result from this side-show, Justin Kim should
  20 not be permitted to testify about anything related to the 2014 seizure. Admitting
  21 such testimony would leave Mr. Lee would be trying to prove that he did not engage
  22 in additional crimes which the government has not charged. Not only are Kim’s
  23 facts wrong, but the 2014 search has nothing to do with this case and will not tend to
  24 prove any fact relevant to this matter. It is not relevant (Fed. R. Evid. 401) and any
  25 discussion about the seizure would be unduly prejudicial, confuse the issues,
  26 mislead the jury, and cause undue delay and time wasting (Fed. R. Evid. 403).
  27 III.    CONCLUSION
  28         For the foregoing reasons, Defendants Dae Yong Lee and 940 Hill, LLC

                                                  12                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 18 of 37 Page ID #:9561




   1 respectfully request that the Court to exclude all evidence and testimony related to
   2 the 2014 seizure of cash from JOIA.
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                                                  13                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 19 of 37 Page ID #:9562




   1                            GOVERNMENT’S OPPOSITION
   2 I.      INTRODUCTION
   3         Defendant DAE YONG LEE, a wealthy and successful real estate developer
   4 and businessperson in downtown Los Angeles, and his company, defendant 940
   5 HILL, LLC, engaged with their hand-picked City of Los Angeles liaison, Justin
   6 Kim, in a criminal conspiracy to bribe two City officials, in return for favorable
   7 treatment in the entitlement process for their development project, the 940 Hill
   8 Project. Defendant LEE funded this bribe with a massive amount of cash, namely,
   9 $500,000, which he gave to Kim at an office located at 1020 S. Crocker Street in
  10 Downtown Los Angeles—the headquarters of defendant LEE’s corporate umbrella
  11 entity and the business office of defendant 940 HILL (the “940 HILL Office”).
  12         In support of proving these crimes, the government intends to present self-
  13 sanitized evidence of an undisputed fact: in September 2014, just two years before
  14 the start of the charged conspiracy, defendant LEE possessed an even more massive
  15 amount of cash, namely, over $4.2 million in that very same office, the 940 HILL
  16 Office. The government seeks to admit this evidence, not to prove defendant LEE’s
  17 character, but to prove “opportunity” to commit the charged crimes, as permitted
  18 under Rule 404(b). The government’s proposed circumscribed presentation of this
  19 evidence – which would be limited to defendant LEE’s admissions about possession
  20 of cash and photographs of the cash and money counters and would omit reference
  21 to a law enforcement search, operation, or seizure – would not be unduly prejudicial
  22 under Rule 403, especially in light of the relevant 404(b) jury instruction that would
  23 accompany this evidence.
  24 II.     RELEVANT FACTUAL BACKGROUND
  25         In September 2014, federal agents seized over $4.2 million cash from the 940
  26 HILL Office and documented the presence of cash and money counters at the office
  27 through photographs. Specifically, on September 10, 2014, the FBI executed a
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                                                  14                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 20 of 37 Page ID #:9563




   1 federal search warrant and then a rollback warrant9 signed by former Chief
   2 Magistrate Judge, the Honorable Patrick J. Walsh, at 1020 S. Crocker Street (the
   3 940 HILL Office), and discovered, photographed, and seized $4,251,097 in cash and
   4 ten money counters. See Ex. 8 (FBI report documenting 9/10/14 searches, including
   5 items photographed and seized); Ex. 9 (FBI report documenting cash seized from
   6 various businesses on September 10, 2014, including $4,251,097 cash from Joia
   7 Accessories). Trial Exhibit 152, which the government will seek to introduce at
   8 trial, includes 14 photographs from the execution of the search warrant depicting the
   9 outside of the Joia Accessories location, a fourth-floor conference room (Room F), a
  10 fourth-floor office (Room H) containing three safes, the inside of the large safe in
  11 Room H depicting bundles of cash, and photographs of seven different money
  12 counters, four of which were found in Room H. Ex. 7 [Trial Exhibit 152].
  13 Defendant LEE unlocked the door to Room H and subsequently unlocked the safes
  14 that contained the large sums of cash, demonstrating he was the person who
  15 controlled that particular office and the safes. Ex. 8 at 3.
  16         The same day, agents also interviewed defendant LEE, with counsel present,
  17 about the source of the cash. During the interview, defendant LEE stated that
  18 approximately 15-20% of his customers paid in cash. Ex. 10 [FBI report
  19 documenting 9/10/14 interview of defendant LEE] at 1. Defendant LEE also stated
  20 that he maintained cash at the business to buy materials and products for the
  21 business; specifically, he stated that the amount of cash he kept on hand fluctuated
  22 between one and three million. Id. at 2. Defendant LEE stated that he was the only
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  24           Agents obtained a rollback warrant after a K-9 officer alerted to a bag of
       United States currency in Room H (a room on the fourth floor with three safes), and
  25   then alerted to two safes stacked on top of each other and a third safe in the same
  26   room. See Ex. 8 (FBI report documenting 9/10/14 search) at 4. The rollback
       warrant and affidavit is over 100 pages and remains under seal. Upon the Court’s
  27   request, the government can make a copy available for the Court’s review under
  28   seal.

                                                  15                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 21 of 37 Page ID #:9564




   1 person who had access to the room with the safes. Id. at 3.
   2         On January 23, 2020, during a proffer with the government, Justin Kim stated
   3 that he knew that defendant LEE’s store was raided by the FBI in 2014 for the black
   4 market peso investigation, and that defendant LEE had more than $1 million seized
   5 during the raid from a safe at Joia Accessories. Ex. 5 (report of 1/23/20 Justin Kim
   6 interview) at 4. According to Kim, defendant LEE told him about the raid, and
   7 initially said only a couple thousand dollars were seized, but later told Kim that it
   8 was a couple million. According to Kim, many of the businesses in the fashion
   9 district were large cash businesses, and defendant LEE was the person with the most
  10 cash on hand. According to Kim, defendant LEE told Kim that the government did
  11 not know what they were doing because defendant LEE was audited and never got
  12 in trouble. Id.
  13         Initially, the government intended to introduce the facts that (a) law
  14 enforcement lawfully seized the $4.2 million cash from the 940 HILL Office in
  15 September 2014, and (b) testimony from co-conspirator Kim that defendant LEE
  16 shared these facts with him, and that he apparently withheld the same facts from his
  17 940 HILL business partners, Hyuk Lim and Lucy Kim—the minority owners of
  18 defendant 940 HILL. These facts tend to support the government’s theory that
  19 defendant LEE and co-conspirator Kim had a unique and trusting relationship that
  20 involved sharing incriminating facts distinct from what defendant LEE shared with
  21 his own 940 HILL partners. This, in turn, also supports that Kim would be someone
  22 that defendant LEE would trust to bribe City officials.
  23         However, after further consideration and reviewing defendants’ motion, and
  24 in an abundance of caution, the government now agrees to further sanitize and limit
  25 the scope of the 2014 evidence it will seek to introduce in its case in chief, provided
  26 defendants do not open the door in opening statement or through cross examination
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                                                  16                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 22 of 37 Page ID #:9565




   1 of government witnesses.10 Specifically, the government seeks only to introduce:
   2 (i) the photographs in Trial Exhibit 152 depicting cash and money counters at the
   3 940 HILL Office in September 2014; (ii) the fact that in September 2014, there was
   4 approximately $4.2 million cash in defendant LEE’s possession at the 940 HILL
   5 Office; and (iii) defendant LEE’s admissions that 15-20% of his customers paid in
   6 cash, the amount of cash he kept on hand at the 940 HILL Office fluctuated between
   7 one to three million dollars, and he was the only person with access to the room and
   8 the safes that stored that cash, without introducing that law enforcement executed a
   9 search and seized that cash.
  10         The government also agrees not to elicit testimony from Kim regarding
  11 defendant LEE’s incriminating statements to Kim about the September 2014 search,
  12 that defendant LEE “had the most cash on hand,” or that “there was a lot of fraud
  13 and tax evasion that occurred in the Fashion District,” but plans to introduce the
  14 excerpt of the audio recording defendants describe in their motion (which
  15 defendants do not seek to exclude in this motion in limine).11
  16 III.    ARGUMENT
  17         A.     Applicable Law
  18         Pursuant to Rule 404(b), evidence of other crimes and bad acts is admissible
  19 if relevant to prove “motive, opportunity, intent, preparation, plan, knowledge,
  20 identity, or absence of mistake or accident.” Fed. R. Evid. 404(b). The Ninth
  21 Circuit consistently has held that this rule is “one of inclusion and that other acts
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              For example, by arguing in opening statement or asking questions in cross
  23 examination suggesting that defendant LEE was “never investigated before,” “never
  24 previously suspected of criminal activity,” or “inexperienced” or “unsophisticated
     when it came to government investigations.”
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  26          The government still intends to elicit, without reference to the search
     warrant, defendant LEE’s admission to Kim that “the government did not know
  27 what they were doing because LEE was audited and never got in trouble.” Ex. 5 at
  28 4.

                                                  17                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 23 of 37 Page ID #:9566




   1 evidence is admissible whenever relevant to an issue other than the defendant’s
   2 criminal propensity.” United States v. Mehrmanesh, 689 F.2d 822, 830 (9th Cir.
   3 1982). The Ninth Circuit has developed a four-part test to determine the
   4 admissibility of Rule 404(b) evidence: (1) the evidence must tend to prove a
   5 material issue in the case; (2) the acts must be similar to the offense charged;
   6 (3) proof of the other acts must be based upon sufficient evidence; and (4) the acts
   7 must not be too remote in time. United States v. Iverson, 162 F.3d 1015, 1026 (9th
   8 Cir. 1998) (citing United States v. Montgomery, 150 F.3d 983, 1000 (9th Cir.
   9 1998)). See also United States v. Bibo-Rodriguez, 922 F.2d 1398, 1400-01 (9th Cir.
  10 1991). After analyzing the evidence through this rubric, the Court is then to
  11 examine the evidence to determine if its probative value is substantially outweighed
  12 by the danger of unfair prejudice. United States v. Miller, 874 F.2d 1255, 1268 (9th
  13 Cir. 1989); Fed. R. Evid. Rule 403. The evidence at issue here satisfies each of the
  14 prongs established by the Ninth Circuit, and its significant probative value is not
  15 substantially outweighed by a risk of unfair prejudice.
  16         B.     Defendants’ Possession of $4.2 Million in Cash Two Years Before
  17                the Charged $500,000 Cash Bribe Agreement Is Admissible Under
  18                404(b)
  19         The first element of the 404(b) test is whether the evidence tends to prove a
  20 material issue in the case. Here, the government will have to prove beyond a
  21 reasonable doubt that defendant LEE gave Kim a huge amount of cash – $500,000 –
  22 to deliver to City Officials as a bribe. Most people have likely never seen such a
  23 large sum of cash in person, let alone fathom that someone would have ready access
  24 to such a large sum of cash to spend on a criminal endeavor. Without evidence that
  25 defendant LEE and his business routinely had large sums of cash on hand, the jury
  26 may find Esparza’s and Kim’s story to be fantastical or exaggerated and ultimately
  27 find it hard to believe that defendant LEE indeed paid this large cash bribe. The
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                                                  18                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 24 of 37 Page ID #:9567




   1 government seeks to admit this evidence, not to prove defendant LEE’s character,
   2 but to prove “opportunity” to commit the charged crimes.
   3         The Ninth Circuit’s reasoning in United States v. Garcia-Schober, 64 F.3d
   4 667 (9th Cir. 1995), although an unpublished opinion without precedential value, is
   5 instructive. At a drug conspiracy trial, the government introduced evidence that law
   6 enforcement seized $1.1 million dollars from defendant in an unrelated investigation
   7 several months after the charged conduct as “subsequent similar act evidence.” Id.
   8 at *3. Specifically, the agent who seized the $1.1 million testified that: “(1) the
   9 agent was with the Drug Enforcement Administration; (2) the money was composed
  10 of approximately 54,000 $20 bills; (3) there were no drugs discovered in Garcia’s
  11 car at the time of the seizure; and (4) the agent seized the money as a result of a
  12 positive canine alert.” Id. at *4. While the Ninth Circuit concluded that this
  13 testimony went beyond the permissible scope of 404(b), it held that “evidence of the
  14 seizure was clearly relevant to show Garcia’s ability to acquire money which could
  15 be used to finance a cocaine transaction. The evidence both falls within the scope of
  16 Rule 404(b) and is relevant.” Id. (emphasis added). The Ninth Circuit explained:
  17          The government alleged that Garcia was the financier of the cocaine
              deal it was attempting to structure through an informant. To be the
  18          financier of the deal, it was necessary for Garcia to be able to
              obtain large sums of cash. The evidence of the seizure was relevant
  19          to show that Garcia had the opportunity to acquire large sums of
              money and, therefore, could act as the financier for the cocaine
  20          transaction related to the conspiracy charge in the instant case. The
              district court correctly determined that this evidence was within the
  21          scope of Rule 404(b).
  22 Id. (emphasis added). Here, too, the government alleges that defendant LEE “was
  23 the financier” of the bribery agreement, and to be a “financier” of that substantial
  24 cash bribe, “it was necessary for [defendant LEE] to be able to obtain large sums of
  25 cash.” Evidence that defendant LEE possessed $4.2 million in cash in September
  26 2014 at the 940 HILL Office is relevant to show that defendant LEE had the
  27 opportunity to acquire large sums of cash and therefore act as the financier of the
  28 cash bribe charged in this case. The point is not that defendant LEE had this

                                                  19                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 25 of 37 Page ID #:9568




   1 particular cash available in 2017, but that he ran a business that gave him access to
   2 large sums of cash and that it was his custom to store large sums of cash at the 940
   3 HILL Office. Defendant LEE in fact admitted to agents in September 2014 that the
   4 amount of cash he kept on hand fluctuated between one and three million dollars.
   5 Ex. 10 [FBI report documenting 9/10/14 interview of defendant LEE] at 2. In 2017,
   6 defendant remained in the same business at the same location, and that business
   7 produced significant amounts of cash receipts.
   8         The Ninth Circuit in Garcia-Schober went on to note that “whether or not
   9 Garcia disputed the fact that he had the opportunity to acquire large sums of money
  10 is of no consequence in determining whether evidence of opportunity is relevant.”
  11 Id. at *4. Here, too, defendant argues that he “does not anticipate disputing that he
  12 had access to sufficient cash to make a $500,000 cash payment.” Nevertheless, the
  13 government has the burden to prove its case beyond a reasonable doubt, and
  14 defendants have not offered to stipulate to that fact.12 As the Ninth Circuit pointed
  15 out, the Advisory Committee Note to Rule 401 states: “The fact to which the
  16 evidence is directed need not be in dispute. While situations will arise which call
  17 for the exclusion of evidence offered to prove a point conceded by the opponent, the
  18 ruling should be made on the basis of such considerations as waste of time and
  19 undue prejudice (see Rule 403), rather than under any general requirement that
  20 evidence is admissible only if directed to matters in dispute.” Fed. R. Evid. 401,
  21 Advisory Committee’s Note. See also United States v. Jones, 982 F.2d 380, 383
  22 (9th Cir. 1992) (rejecting defendant’s argument that “since he did not contest the
  23 elements for which the evidence was admitted, the evidence of his prior crimes had
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  25         12
              Even if the defendant were to stipulate to such a fact, the government
  26 believes this would be insufficient evidence because the amount of cash on hand in
     2017 is still very relevant to defendant’s opportunity and ability to make such a
  27 massive payment as a secret bribe (and not a legitimate and documented business
  28 expense).

                                                  20                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 26 of 37 Page ID #:9569




   1 very little probative value”). “The probative value of the evidence is to be measured
   2 by its tendency to make the existence of [defendant]’s knowledge of and
   3 participation in the conspiracy more probable than it would be without the evidence,
   4 not by how vigorously he contests the elements the evidence is admitted to prove.”
   5 Id.
   6         Defendants also argue that Jason Kang, a 940 HILL employee, will testify
   7 that defendant LEE had access to large amounts of cash. But Kang could not
   8 estimate the amount of cash he had seen in defendant LEE’s office, and certainly did
   9 not claim he ever saw anything close to $500,000 in cash at the office or that
  10 defendant LEE would be readily able to pay such a huge cash bribe. This Court
  11 should follow the reasoning and analysis of the Ninth Circuit in Garcia-Schober and
  12 find that evidence of the presence of $4.2 million in cash at the 940 HILL Office in
  13 September 2014 is admissible under Rule 404(b).
  14         Other courts have similarly admitted evidence of a defendant’s possession of
  15 large sums of cash in cases where it is relevant to establish the charged offense. For
  16 example, in United States v. Tramunti, 513 F.2d 1087 (2d Cir. 1975), the Second
  17 Circuit explained that the possession of large amounts of cash “is similar to the
  18 possession of special means, such as tools or apparatus, which is admissible to show
  19 the doing of an act requiring those means.” Id. at 1105. In other words, if a crime
  20 requires the possession of large sums of cash (as payment of a large cash bribe
  21 does), evidence of the possession of cash on another occasion is probative of an
  22 opportunity to commit the crime. Similarly, in United States v. Kenny, 462 F.2d
  23 1205 (3d Cir. 1972), the Third Circuit explained that “the ready availability to one
  24 of the conspirators of $50,090 in cash and its transfer to another conspirator at a
  25 time shortly after the period during which the conspiracy is alleged to have
  26 continued, as with other evidence of large unexplained hoards of currency, tended to
  27 establish the offenses charges.” Id. at 1222.
  28         The remaining three elements of the 404(b) test are also satisfied. As to the

                                                  21                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 27 of 37 Page ID #:9570




   1 second element that the prior act be similar to the offense charged, here, the
   2 government will have to prove at trial that defendant LEE gave Kim $500,000 in
   3 cash at the 940 HILL Office in 2017. The prior act is sufficiently similar in that it
   4 establishes defendant LEE had over $4.2 million in cash at that same location. As to
   5 the third element, proof that the other act occurred, it is undisputed that defendant
   6 LEE possessed over $4.2 million in safes located at the 940 HILL Office, as
   7 evidenced by the FBI’s seizure of that cash pursuant to the search warrant and
   8 defendant LEE’s own admissions.13
   9         As to the last element, remoteness in time, the conduct underlying defendant
  10 LEE’s possession of over $4.2 million in cash at the 940 HILL Office occurred in
  11 September 2014, approximately two years before the offense conduct in this case,
  12 which charges a bribery scheme beginning in August 2016. The Ninth Circuit has
  13 repeatedly upheld the admission of prior acts evidence that are significantly more
  14 remote in time, especially where, as here, there is strong similarity. See, e.g., United
  15 States v. Vo, 413 F.3d 1010 (9th Cir. 2005) (admitting thirteen-year-old conviction);
  16 United States v. Hadley, 918 F.2d 848, 851 (9th Cir. 1990) (ten-year-old act not too
  17 remote where acts are similar); United States v. Spillone, 879 F.2d 514, 519 (9th Cir.
  18 1989) (prior conviction more than ten years old not too remote because similar to
  19 offense charged); United States v. Ono, 918 F.2d 1462, 1465 n.2 (9th Cir. 1990)
  20 (seven-year-old prior conviction not too remote where acts are similar).
  21         Defendants contend that a law enforcement seizure of a massive amount of
  22
  23         13
                Defendant LEE asserts that he forwent filing a suppression motion in
  24   exchange for a stipulation of facts, but there is no basis to think this Court would
       have found the probable cause finding lacking in the search and seizure warrant
  25   authorized by a former Chief Magistrate Judge Walsh, Case No. 14-MJ-1731, and
  26   the rollback warrant authorized later the same day of the search warrant execution in
       Case No. 14-MJ-1731(A). Moreover, even in that unlikely event, there is nothing to
  27   indicate the search warrant would not have been upheld under the good faith
  28   doctrine.

                                                  22                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 28 of 37 Page ID #:9571




   1 cash from defendant’s business in the same location where defendant is alleged to
   2 have provided a $500,000 cash bribe to Kim to deliver to City Officials says
   3 “nothing” about whether “Mr. Lee had ready access to large sums of cash once the
   4 government effected its seizure.” (Motion at 7-8.) This overstatement is better
   5 suited for a jury argument than a ruling on admissibility. The obvious relevance is
   6 that it tends to support that defendant LEE owns a lucrative business that earns and
   7 maintains a significant amount of cash on hand. The government need not prove
   8 that defendant LEE made all the money back by the time of the bribe. The presence
   9 of $4.2 million in cash, as well as money counters, at the 940 HILL Office in
  10 September 2014 makes more probable that defendant LEE could afford and could
  11 have ready access to $500,000 in cash in 2017.
  12         C.     The Evidence Is Not Unduly Prejudicial
  13         The Ninth Circuit has made clear that “[Rule] 403 favors admissibility,”
  14 United States v. Hankey, 203 F.3d 1160, 1172 (9th Cir. 2000), and that excluding
  15 evidence under Rule 403 is an “extraordinary remedy to be used sparingly because it
  16 permits the trial court to exclude otherwise relevant evidence.” United States v.
  17 Patterson, 819 F.2d 1495, 1504 (9th Cir. 1987) (cleaned up). As the Ninth Circuit
  18 explained in a case admitting evidence of the defendant’s and a witness’s
  19 unfavorable connection to a criminal organization:
  20         Relevant evidence is inherently prejudicial; but it is only unfair
             prejudice, substantially outweighing probative value, which permits
  21         exclusion of relevant matter under Rule 403. Unless trials are to be
             conducted as scenarios, or unreal facts tailored and sanitized for the
  22         occasion, the application of Rule 403 must be cautious and sparing.
             Its major function is limited to excluding matter of scant or
  23         cumulative probative force, dragged in by the heels for the sake of its
             prejudicial effect.
  24
       Hankey, 203 F.3d at 1172 (cleaned up) (emphasis added). Further, Rule 403 does
  25
       not require that a trial be “scrub[bed] . . . clean of all evidence that may have an
  26
       emotional impact.” United States v. Ganoe, 538 F.3d 1117, 1124 (9th Cir. 2008)
  27
       (cleaned up).
  28

                                                  23                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 29 of 37 Page ID #:9572




   1         In Gracia-Schober, the defendant argued that evidence of the seizure of $1.1
   2 million from him in an unrelated investigation should have been excluded under
   3 Rule 403. Specifically, the defendant argued that “the subsequent-act evidence was
   4 offered to inflame the jury and to show he had a criminal propensity and the
   5 character of a drug dealer.” 64 F.3d 667, at *4. The Ninth Circuit rejected that
   6 argument. “The district court’s careful tailoring of the subsequent-act evidence
   7 allowed before the jury combined with the repeated limiting instructions were
   8 sufficient to satisfy Rule 403, and the district court’s determination that the
   9 prejudice did not outweigh the probative value of the evidence was not an abuse of
  10 its discretion.” Id. In that case, “the district court gave the following limiting
  11 instruction to the jury both at the time the evidence was offered and again at the
  12 conclusion of the case: ‘Now, you may consider the evidence concerning this
  13 particular act only for a limited purpose, and that is, only as it bears on the
  14 defendant’s opportunity to obtain money and for no other purpose.’” Id. The
  15 government agrees that a similar limiting instruction should be given at the time the
  16 evidence is offered and at the conclusion of this case. See, e.g., Dubria v. Smith,
  17 224 F.3d 995, 1002 (9th Cir. 2000) (“Ordinarily, a cautionary instruction is
  18 presumed to have cured prejudicial impact.”).
  19         The risk of prejudice to defendants here is necessarily less than traditional
  20 404(b) cases seeking to admit prior convictions or other bad acts because the
  21 government has agreed not to elicit law enforcement’s involvement in the
  22 September 2014 possession of cash. Thus, the “other act” relates to the possession
  23 of a large amount of cash at a business, a fact that, alone, is not incriminatory;
  24 indeed, some jurors may even look upon it favorably. This is even more true when
  25 the possession is not by some alleged drug dealer or a defendant without the means
  26 to explain the large sum of cash, but instead for a wealthy developer who works on
  27 many properties worth tens of millions of dollars and admits his business generates
  28 lots of cash. Moreover, evidence also should “not be excluded as unduly prejudicial

                                                  24                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 30 of 37 Page ID #:9573




   1 when it is not more inflammatory than the charged crime.” United States v. Livoti,
   2 196 F.3d 322, 326 (2d Cir. 1999). When limited to a handful of photographs and in
   3 combination with a limiting instruction, the evidence is not unduly prejudicial. See
   4 Tramunti, 513 F.2d at 1105 (“The argument that so much cash was so sensational,
   5 inflammatory and prejudicial as to outweigh its relevancy we find unimpressive.”).
   6 In Tramunti, the government introduced photographs of the money, not the cash
   7 itself in the courtroom, leading the Second Circuit to conclude: “[t]he fact that the
   8 sum of money was considerable is not so remarkable in this day and age as to make
   9 it per se inadmissible.” Id.
  10         Trial Exhibit 152 is not inflammatory when presented as photographs of the
  11 940 HILL Office in September 2014, without the mention that the photographs were
  12 taken by law enforcement. The first five pages of Exhibit 152 show the outside and
  13 inside of the office and are completely innocuous. The government expects that
  14 several trial witnesses, including Jason Kang and Justin Kim, will be able to
  15 authenticate the photographs as accurately depicting the 940 HILL Office (even in
  16 2017), including the presence of three large safes. Ex. 7 [Trial Ex. 152] at 5. Pages
  17 6 through 8 are photographs of the inside of the large safe with cash inside. The
  18 photographs of the cash are relevant because they show that defendant LEE seems
  19 to store his cash in a particular way, with rubber bands holding together what appear
  20 to be $10,000 stacks of $100 bills. The photographs of the cash Esparza received
  21 from Kim on February 10, 2017 and March 14, 2017, similarly depict $10,000
  22 stacks of $100 bills, some of which are held together with rubber bands. See Ex. 1
  23 [Trial Ex. 91] to Motion to Exclude Esparza Notes. Although storing large sums of
  24 cash in this way is not particularly unique, it is unusual and relevant that defendant
  25 LEE stored a large sum of cash at the 940 HILL Office, bundled in the same way as
  26 the Esparza cash. Most people store money at the bank, not in $10,000 stacks in an
  27 office with minimal security. The photographs of the September 2014 cash are
  28 therefore relevant. Lastly, pages 9 through 14 are photographs of seven money

                                                  25                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 31 of 37 Page ID #:9574




   1 counters at the 940 HILL Office location, which tend to prove that defendant LEE’s
   2 business was a high-cash business requiring the use of multiple money counters (and
   3 corroborate witness statements regarding the same), again making it more likely that
   4 defendant LEE had ready access to $500,000 cash in 2017.
   5         Any prejudice defendant LEE’s possession of cash and money counters could
   6 create would not substantially outweigh its probative value. See United States v.
   7 Parker, 549 F.2d 1217, 1222 (9th Cir. 1977) (Rule 404(b) evidence “is not rendered
   8 inadmissible because it is of a highly prejudicial nature. . . . The best evidence often
   9 is.”). Defendants’ ready access to a large sum of cash is not being “dragged in by
  10 the heels for the sake of its prejudicial effect,” Hankey, 203 F.3d at 1172; it is
  11 offered to help explain that defendants had an opportunity to commit this crime,
  12 meaning he could afford to pay this bribe plus have ready access to millions of
  13 dollars in cash at their business office, the same location where the government
  14 alleges defendant LEE gave Kim the $500,000 cash bribes to help ensure
  15 defendant’s business continued success.
  16 IV.     CONCLUSION
  17         For the foregoing reasons, the government respectfully requests that the Court
  18 find that the following evidence is admissible at trial: (1) the fact that in September
  19 2014, defendant LEE possessed approximately $4.2 million in cash at the 940 HILL
  20 Office in safes; (2) Trial Exhibit 152, a compilation of 17 photographs of the 940
  21 HILL Office from September 2014, showing the outside and inside of the office,
  22 three safes with large sums of cash, and various money counters; and (3) defendant
  23 LEE’s admissions that 15-20% of his customers paid in cash, the amount of cash he
  24 kept on hand at the 940 HILL Office fluctuated between one to three million dollars,
  25 and he was the only person with access to the safes in the 940 HILL Office.
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                                                  26                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 32 of 37 Page ID #:9575




   1                                 DEFENDANTS’ REPLY
   2 I.      INTRODUCTION
   3         The government has now rightly recognized that evidence of the 2014 search
   4 and seizure would be unduly prejudicial, and claims to be prepared to offer only a
   5 “sanitized” version of the evidence. But the government’s revised position
   6 regarding the 2014 evidence is less “sanitized” than it appears at first glance, and
   7 while it is less prejudicial than originally contemplated, the new proposed evidence
   8 should nonetheless be precluded.
   9 II.     ARGUMENT
  10         Despite the government’s agreement not to reference the 2014 search and
  11 seizure, two of the four categories of evidence it still seeks to admit would require
  12 the testimony of a law enforcement agent, largely nullifying its supposed
  13 “sanitization.” That is, only law enforcement agents can authenticate the
  14 photographs of cash and money counters found on that day in September 2014;
  15 neither Justin Kim nor Jason Kang was present.14 Likewise, only law enforcement
  16 agents can testify about Mr. Lee’s purported statements regarding customer
  17 payments, cash on hand, or access to the safe; he made those statements in an
  18 interview with agents. Accordingly, even under the government’s revised position,
  19 the jury will still learn that law enforcement was present, took photographs, and
  20 interviewed Mr. Lee. For all of the reasons discussed in the Motion, this would be
  21 unduly prejudicial, and would require counsel to spend time “unringing” that
  22 prejudicial bell by eliciting that Mr. Lee was not arrested and was not charged with
  23 any wrongdoing—the very thing the government says might “open the door” to
  24 more extensive evidence relating to the 2014 cash seizure.
  25
  26   14
        Those two witnesses could authenticate the first five photographs in Ex. 7 (Trial
  27 Ex. 152), but those are not objectionable in any event, as they do not depict money
  28 or money counters.

                                                  27                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 33 of 37 Page ID #:9576




   1         Moreover, the government’s revised evidence would leave the misimpression
   2 that Mr. Lee still possessed the $4.2 million found in 2014 and perhaps used it to
   3 pay the alleged bribe. Of course he did not because it was seized by law
   4 enforcement. But Mr. Lee would be left in a catch-22: either allow the
   5 misimpression to stand, or seek to correct it by admitting the exact evidence that
   6 even the government now recognizes is unduly prejudicial (i.e., that it was seized).
   7 The government should not be permitted to force Mr. Lee into a double-bind
   8 through its purported “sanitization,” especially when the possession of that cash is
   9 irrelevant to this case.
  10         A.     Mr. Lee’s Purported Statement to Justin Kim
  11         Buried in footnote 12, the government notes that it would elicit from Justin
  12 Kim that Mr. Lee was audited as a result of that 2014 law enforcement presence,
  13 and that Mr. Lee “got away” with some unidentified crime because of law
  14 enforcement’s mistakes. This is pure propensity evidence, and the government
  15 offers no argument as to why it is relevant or admissible under 404(b). The
  16 evidence should be excluded for the reasons discussed in the Motion; the statement
  17 says nothing about the instant charged offenses or Mr. Lee’s knowledge, intent,
  18 opportunity, etc. It would also introduce to the jury the very fact that the
  19 government agrees to sanitize: the Mr. Lee was subject to law enforcement
  20 investigation based on the 2014 cash. Accordingly, it is unduly prejudicial as well.
  21         B.     Presence of Cash
  22         As to the presence of the cash, the government relies largely on a single,
  23 unpublished case—United States v. Garcia-Schober, 64 F.3d 667 (9th Cir. 1995) –
  24 which it is not permitted to cite under Circuit Rule 36-3 and which has no
  25 precedential value. The Court should not accept the invitation to consider the case
  26 or the government’s attempt to apply it here. In any event, in that case the
  27 government apparently did not have what the government has here: a witness—
  28 Jason Kang, one of the defendant’s employees—who has told the government and is

                                                  28                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 34 of 37 Page ID #:9577




   1 expected to testify that Mr. Lee had access to large stacks of cash in his office on a
   2 regular basis (i.e., during the relevant time period relevant to this case and not three
   3 years earlier), and that Mr. Lee told him that Mr. Lee “paid $500,000 in cash as a
   4 consulting fee for entitlements . . . out of his personal cash.” Neuman Decl. Ex. 3
   5 (Casino_0372250) at 2 and 9. That is, here, the government has better, more
   6 relevant, and direct evidence to prove the point it seeks to establish, which counsel
   7 does not anticipate challenging at trial. In light of Mr. Kang’s testimony (which
   8 corroborates Justin Kim, the very thing the government says it is concerned about),
   9 the government does not need to present unduly prejudicial 2014 evidence to
  10 demonstrate opportunity.
  11           C.    Photographs
  12           The photographs should be excluded for the same reasons, but they are even
  13 less relevant and more prejudicial. They are also cumulative of Jason Kang’s
  14 testimony. The government contends that the 2014 photographs showing how cash
  15 was stored in the JOIA office somehow tie Mr. Lee to Esparza’s photographs of
  16 cash because they were stored the same way. But the government’s concession that
  17 “storing large sums of cash in this way is not particularly unique” is fatal to its
  18 argument and only reinforces the merits of the Motion; the probative value of the
  19 evidence is non-existent, and is far outweighed by the undue prejudice and likely
  20 confusion. The jury will be led to conclude that because they look the stacks look
  21 the same they must be the same, even though by the government’s admission such
  22 an inference is not fair. And the only way for Mr. Lee to discourage that inference
  23 would be to introduce evidence that the cash had been seized by the government and
  24 was in its possession in 2017—exactly the evidence that the government has now
  25 agreed not to introduce. The reality is, the government wants these photographs for
  26 one thing only: their shock value.15 That is improper, especially when the
  27
       15
  28        As the government writes in Opposition, “Most people have likely never seen

                                                  29                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 35 of 37 Page ID #:9578




   1 introduction of the photographs would cause all of the undue prejudice discussed
   2 above and are not directly relevant to the charges in this case.
   3         D.     Mr. Lee’s Statements
   4         The purported statements that Mr. Lee made to a law enforcement officer
   5 about cash at his business, cash on hand at the JOIA office, or his access to safes,
   6 are not in and of themselves objectionable. The problem is that, as discussed above,
   7 the government can only admit this evidence through a law enforcement officer.
   8 For the reasons discussed above, such testimony would open the door to the very
   9 problematic evidence that the government has now recognized is unduly prejudicial.
  10 The jury would be left to speculate why Mr. Lee was having any interaction with
  11 law enforcement in 2014, suggesting that he was involved in some other criminal
  12 activity. Accordingly, it should be excluded.
  13 III.    CONCLUSION
  14         The government’s Opposition—in which it refers to Mr. Lee’s office at JOIA
  15 as “the 940 HILL Office”—demonstrates the confusion and prejudice that will result
  16 from admission of any evidence regarding the 2014 cash. The office in question is
  17 Mr. Lee’s office at JOIA, and was searched as a result of a search warrant directed
  18 at JOIA. It is not and has never been “the 940 Hill Office.” The Opposition’s
  19 conflation of that fact is just an example of the type of undue prejudice and
  20 confusion that will result from admission of the evidence. That prejudice, waste of
  21 time, and confusion, would be compounded by law enforcement officer testimony, a
  22 suggestion that Mr. Lee “got away” with some crime before, and photographs of
  23 irrelevant stacks of cash that were not in Mr. Lee’s possession at the time in
  24 question.
  25         The government has sufficient, alternative evidence to prove the points for
  26 which it says it needs the 2014 evidence. For the reasons discussed in the Motion
  27
  28 such a large sum of cash in person.”

                                                  30                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 36 of 37 Page ID #:9579




   1 and in this Reply, all evidence related to the 2014 search and seizure, and Mr. Lee’s
   2 alleged statements about it, should be excluded.
   3
   4
   5 DATED: April 28, 2022                  Ariel A. Neuman
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                                                  31                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
Case 2:20-cr-00326-JFW Document 439 Filed 04/28/22 Page 37 of 37 Page ID #:9580




   1                        LOCAL RULE 5-4.3.4 ATTESTATION
   2         I attest and certify that all other signatories listed, and on whose behalf this
   3 filing is submitted, concur with the filing’s content and have authorized the filing.
   4
   5 DATED: April 28, 2022                  By:          /s/ Ariel A. Neuman
   6                                                           Ariel A. Neuman
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                                                  32                       Case No. 20-CR-0326-JFW
       LEE/940 HILL'S MIL NO. 1 TO EXCLUDE EVIDENCE RELATED TO 2014 INVESTIGATION AND SEIZURE
